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 The St. Regis Hotel                                                                  September 6, 1996
 New York, New York                                                                      Job No. 96012

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 The accuracy of this report is limited to what can be reasonably expected utilizing photographic
 equipment and binocular surveillance from the street. We have been retained in accordance with
 Section C27-129 of the New York City Administrative Building Code which allows critical examination
 using the above techniques without the use of scaffolding, platforms or rigging.

This report was not intended for the determination of causes of conditions noted above. This
Architect/Engineer has been retained exclusively for the critical examination of the building walls and
the eppurtenances thereof, end the preparation and filing of this report, all in compliance with Section
C27-129 of the Administrative Code of New York City, i.e., local law 10/80.

The Owner is urged to prepare a maintenance program for correction of any conditions noted as
requiring remedial work.

Critical statements made in this report on the conditions of the building may not be used as criticism
of the other designers, contractors or anyone responsible for the building. This report may not be used
for representation or as the basis of any sale of cooperatives or any other sale.

Descriptions of the building in this report are not guaranteed for survey type accuracy or for legal use.

The actual condition of the window glass has been included only if this is obviously cracked or in
danger of falling from the building.

The details of this report cannot be used to determine the extent of or to contract for maintenance
work. Where a condition has been described as critical, the Owner is obliged to contract for
scaffolding protection, etc. to remedy the condition.

Conditions of the building noted and Identified in this report are limited to the date of this report.




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                                      ll COMMERCE DRIVE, CRANFoRD, NJ 07016




              REPoRT OF AsBESTOS SURVEY
              THE ST. REGIS HOTEL
              lEAST ssm STREET· -
              NEW YORK, NEW YORK

              PREPARED FOR
              STARWOOD HOTELs t& REsORTS WORLDWIDE, INC.

              APRIL2, 2003
              REVISED J'ULY 8, 2005

              URS JOB No. 42467-003-175 (38580320)




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 APPENDICES

 Appendix A         Asbestos-Containing Materials, Locations And Approximate Quantities

 Appendix B         Laboratory Sample Analytical Data

 Appendix C         Personnel And Laboratory Certifications

 Appendix D         Drawings

Appendix E         Asbestos Survey, Sampling And Analytical Protocol




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                                 1.0 EXECUTIVE SUMMARY

 URS Corporation (URS) was retained by Starwood Hotels and Resorts Worldwide, IDe. (Starwood)
 to perform a survey ofthe St Regis Hotel located at 2 East 55th S1rcet and the adjoining retail space
 located at 701 5th Avenue, Manhattan, New York, for the prescilcc of asbestos-containing material
 (ACM).

 The survey of the hotel was conducted on November 15 and November 18,2002, by URS'
 EPAI New York State-certified asbestos inspectors, George Holderied and Marcus Marchan
 (Appendix C). The survey of the 5th Avenue retail spa~ was condu~ed on March 4, 2004.

The scope of the ACM smvey included the identification, quantification and sampling. of
accessible suspect building . materials. The · analytical method used for bulk · sample
determination of suspect ACM was polarized light microscopy (PLM) with dispersion
staining. Scientific Laboratories (AmeriSci) in New York, NY, which is certified_to perform
bulk and air sample analysis by the National Volui:ttary Laboratory AcCreditation Program
(NVLAP), analyzed the samples. Materials are considered asbestos-cOntaining when more
than I% of asbestos is present.

Below is a complete listing of identified ACM, approximate locations, and quantities.
                                              .                                .
                              ASBESTOS INVENTORY TABLE




                                        No ACM WIIS Identifwl


LF -Linear. Feet                 CH - Cbrysotile
SF- Square Feet                  Fr - FlOQr Tile
NF- Non-Friable                  M-Mastic




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                                2.0 FACILITY DESCRIPTION

    The St Regis Hotel was constructed between 1902 and 1904. This 21-floor luxury hotel is
    403,000 square feet and includes 315 guest rooms and retail space. URS' scope of work
    included smveying the interior of the subject property. The site contact for this survey was
    Afz.al Siddiqui.




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                                3.0 SURVEY LJtdrrATIONS

 As with any other scientific study, this survey is subject to certain limitations. Some of
 'those; which must be considered in interpreting the results of 1his ACM ~ey, are as
 follows:

     A. No smvey will be able to identify all ACM throughout a facility.

     B. Only accessible building areas were included in this sw:vey. Building components
        were not demolished to gain access to concealed building areas. Areas that were
        inaccessible were identified on the drawings tothe best of URS' ability and it should
        be assumed that suspect materials might be present iii the.s e areas.

     C. Electrical boxes and other compo~ents may contain insulators that 1;0ntain ~bestos.
        These materials were not evaluated during this survey due to the risk of electrical
        shock. Such insulators are typically cloth and cementitious board apd would not
        likely became friable during demolition activities.

     D. Roofing materials were not included in this survey.




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                                            4.0 OBSERVATIONS AND FINDINGS

                   Dming the site survey, URS identified and sampled suspect ACM in accessible bUilding
                   areas including common areas, maintenance areas and mechanical areas. Not ev~ guest
                   room was inspected. Based on the site's history of construction and renovationS, a total of
                   32 guest rooms (100/o) were selected for inspection. Starwood site representative, Afza1
                   Siddiqui, provided information regarding the ·site's construction history.

                   URS observed the subjec:t building areas for the presence of.asbestos-containing niaterials in
                   aecordance with current US Environmental Protection Agency ~A) and U. S.
                   Occupational Safety ·and Health Administration (OSHA) req\liiemcnts.             A detailed
                   description of the survey, sampling and analytical protocol followed in perfoririing this
                   survey are contained in Appendix E. During the S1:1fVey, suspect ACM was identified,
                   sampled, and quantified (Appendix -A). A total of 7~ bulk samples of suspect' building
                   materials were collected from the following building materials:

                      •   Floor Tile and Mastic
                      •   Acoustical Ceiling Panel
                      •   Cementious Pipe
                      •   Pipe Fitting Insulation
                      •   Wall .Piaster
                      •   Gypsum Board

                   Using URS' positive-stop protocol, 63 Qf the 72 samples colleCted were ana1}7.Cd~ Under
                   this protocol, the laboratory stops analyziilg samples from a homogenous group .once one of
                   those samples is found to contain asbestos. The laboratory analysis of bUlk samples found
                   that there was no asbestos present in any of the materials sampled (Appendix B).

                   Drawings depicting sample locations ~be found in Appendix D .




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                       5.0 CONCLUSIONS AND RECOMMENDATIONS

 The laboratory analysis of bulk samples (Appendix B) indicates that greater than 1%
 a8bestos was not present in any of the materials sampled. Materials are considered asbestos-
                                            is
 containing when more than I% of asbestos present




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           APPENDIXA · ·



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                                     APPENDIX A
                       ASBESTOS-CONTAINING MATERIAL LOCATIONS
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                       ASBESTOS~ORYTABLE




 LF- Linear Feet        CH - Cluysotile
 SF - SqWR Feet         FT - Floor Tile
 NF- Non-Friable        M-Mastic




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                               APPENDIXB


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                                         APPENDIXB
                               LABORATORYSAMPLEANALYTICALDATA




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           P.O. t SUW'-816583
          SL.M-P-815583; Slerwood St. Regll

     DearWendy~

     Encloeed arelhe resub ol Asbestos Anllly8ia - Bulk Protocol vf lhe lolowlng URS CorporaUon samples, receiYed at
     SCILAB on Friday, Nowmber 22. 2002. lor a 6 day turnaround:      0




     01A. 01A-M, 018, 01 &:M, 01C, 01c-M. 02A. 02A-M, 028, 028-M, ~. 020-M. 03A, 038, 03C, 04A, CMB, 04C, 05A, 058,
     OSC, ~068, 08C, 07A. 07B, 07C, 08A. OSA-M, 088, 088-M; 08C, oec-M, OBA, OBA-M, 098, 09fJ.M, OBC, 08C-M, 10A,
     108, 10C,.11A, 118, 11C, 12A, 12A·M, 128, .128-M, 12C, 12C-M, 1M, 13A-M, 138, 138-M, 13C, 190-M
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     Salem, NH 03079                               · . RE: SLM·P-815593; Starwood St. Regis
                                                                                             ...
                                             Lab   No~              Asbestos Present                Total % Asbestos
    01A.                                    202113157:01
                         Locellon: Bulk Sample
                                                                                 No                       NAD         '
    .1
                    Description: Gl8)', ~. AoorTie
               Asbntos Types:
                 Olher Meterlal: Non-fibrous 30.4 %

    01A·M                               202113157-()2          .                                             NA
                       Location: Bulk Sample INSUFFICIENt tAAsTIC

                    Description: Mastic
               Asbestos Typa:
                 Olher- Mlterllll:

018                                     ~113157-()3                             No                          NAD ··
                                                                                                                   ,
                      L~c:elfon: Bulk Sample.
1
                 Description: Grey, Homogeneous, Floor Tile
              Asbealol Type.:               .    . .·
               Other Material: Non-fibrOus 15. "

018-M                                  202113157·04                                                         .NA
                     Location: Bulk Sample INSUFFICIENT MASTIC

                  Description: Maslic
              Asbestos lypes:
               Other Material:
                                                                                                                          ...·._- .
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                     Location: Bulk Sample
                                                                               No                           NAD   '       ...' .
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                  DescrlpUon:Grey,H~neoU8,FloorTDa                                                                        -    .
             Asbestos Types:
              · Other Material: Non-fibrous 22.7 %
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 ·s Industrial Way .                                   .                     Pep 8 ·of 12
    Salem~   NH 03079                              . RE: SLM-P-8.1 ~93; ~rwood SL Regis



 Client No./ HGA                           Lab No.                        Asbestos Present              Total% Asbestos ·
 098                                      202113157-36                             No                          NAD'
                      Loclltlon: Bulk Sample
 9
                  Description: Grey, Homogeneous, Roar TJe.
              .Asbestoe Typer.
                                                                     .J
                ~ Mlderlel: Non-fbous -2.8 %


098-M                                     202113157-37                             No                          NAD
                                                                                                                      ,
9M                   Locellon: Bulk Sample LOW WEIGHT

                  Descrlplion: Black. Homogeneous, Mastic
              Aabestoe Types:
                Other Material: Non-fibrous 16.6 %
                                                                                                                 . . 1
09C                                      202113157·38 .                            No                         NAO .
9                    Location: Bulk Sample

                 Description: Grey, Homogeneous, Floor Tie
              Asbeslol Types:
               ~     Materiel: Non-fibrous 1.8%

09C-M. ·                                 202113157-39                                                           NA
                    Location: Bulk-Sample INSUFACIENT. MASTIC

                 Description: Mastic
             Asbestos lypes:
              Other Materiel:

10A                                     202113157-40                           No                             NAD
10                 Location: Bulk Sample

                 Descriptio~:       White/Grey, Homogeneous, CeiiJng Panel
             Asbestos Types:
              Other Materiel: Cellulose 40. %,       Fibrous glass· -40. %,    Non-fibrous 20. %
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                    ~­                                                                          117 .EAST 3011't STREet
           s     C-l LAB                                                                    .     NEW YORK, NY· .too11 ·
                                                                                .TB.: (212) 67H800 • F~ (21~
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                                             PLM Bulk Asbestos.Report
           URS Corporation                               Date Received 1112212002 Scllab Job No.·202113157.
          Attn: Wendy· Quiet                             Date Exem~ned 1112512002 P.O.. SLM~I'-815593 ·
          5 Industrial Way                                .                         Page 9 of· 12
          Salem. NH 03079                              . RE: St.M-P-815593; Starwood Sl Re~s



                                                t.ab No.                      Asbestos Present                ·Total % Asbestos
          108.                              202113157~1                               No                             NAD
                             Location: Bulk Semple
          10
                       Ducrlpllon: WhltaiGrey, Homogeneous, Cellng Panel
                    Asbestn TypeS:                                     · .                 . .
                     Other U.terlal: CeDulose 40. %, Fbotis glass 45. %. NOrl-flbn:lus 15. % .

         · 10C                                202113157-42                           No                             ·NAD
                          Location: Bulk Semple
           10
                       Description: Whfta/Grey,' Homogeneous, Cel~ Panel
                   Asbestoa Types:
                   • Other Materiel: Celulose 40. %, Fbous gla&s 45~ %. Non-flbn;»ua 15."% .
                                                                                                               ..                   •
         11A                                 ~02113157-43                            No                             NAD .
                          Location: Bulk Sample
         11
                      Description: White/Grey,·Homogeneous, ceiling Panel ·
                   Asbut.- Types:
                    Other Material: Cellulose 45. %, · Fibrous glass 35. %, · Non-fibrous 20. %

         118                                 202113157-44                           No ·
                         L~llon:         Bulk Sample
         11
                       Description: White/Grey, Homogeneous, Ceiling Panel
                  Asbestos Types:
                   Other Materiel: Cellulose 40. %,        Fibrous glass 40. %,     Non-flbrous 20. ·%


         11C                                202113157-45                           · No                             NAD
                         LocaUon: Bulk Sample
         11
                      Description: White/Grey, Homogeneous, Ceiling Panel ·
                  Asbestos Types:                                                                                                 ·. .
                   Other Material: Cellulose 40. %,      Fibrous glass 40. %,      NOn-fibrous 20. %




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 S.-CILA·B                                                                      NEW YORK. NY 1o018

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                                                              TEL: (212) 87N6Cio • FAX: (212) 81'M382
                                                                                     .



                                PLM. Bulk Asbestos Report ·
 URS Corporation                              Date Received 1112212002 SciLab J~b No. 202113157
 Attn: Wendy Quiet .                          Date Examined 11/2512002 P.O. I . SLM-P-815593
 Slndustriai·Way                                                          Page 10 at 12
 Salem; NH 03079                             'RE: SLM-P-81~593; .s tarwood St. Regis



Client No.1 HGA .                   Lab No.               Asbestos Present                Total % Asbestos
 12A                               202113157-46                      No                          NAD'
                 Location: Bulk Sample
 12
              Description: YeiiowiWhlte, Homogeneous, Floor Tile .
          .A.bestMTypN:
            OIJ:ter Materiel: Non-tiJrous   s.e %
12A·M                            2021131S7-47                                                     NA
                 Loellllon: Bulk Sample INsUFACIENT MASTIC

              Description: Made
          Asbestos Types:
           Other.Material:

128                            202113157-48                          No
              · LOcation: Bulk Sa,.._ ·
12
             Description: Yeilow/WhHe, Homogeneous, Floor Tlle
         .Asbest. Types:           .
           Other Material: Non-fibrous 7. % ·


128-M                           202113157-4$                                                      NA
                Location: Bulk Sample INSUFFICIENT MASTIC

             Description: Mastic
         Asbesto' 1 ype5:
          Other Material:
                                                                                                        7
12C                           .20~113157·50                          No                         NAD
               Locatl~n: Bulk   Sample
12
            Description: Yellow/White, Homogeneous, Floor Tile
         Asbestoi Typn:
          Other Materfai: Non-fibrous 3.6 %
                                                     Case1:16-cv-09390-GHW
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                            ~cn:.m lob#:        ·inllJ3li1 ··                                                                                                                    ·Pip       3         of        5 ::
                            Client Name: TJRS Corporation
                                                                                                                 Tab1~·1         ..
                                                          ·   ..
                                                                                   Summary of Bulk. Aibestos Analysis Results
                                                                                          .   .              .     .



                                                                                                                                                      -
                                                                                                  ·SLM-P·BlSS93; Starwood SL Regia
#                 ScllAb            Client                            HG        Smnple
                                                                                                                                                  .
                  Simple           Sunplell
                                                                                                        Hut              Add            lnlolable
                                                                     Area       ~elaht
                     •             I.ee.tlon                                    (pain)
                                                                                                    Senttllwe
                                                                                                    Orpalc!t
                                                                                                                       Solable
                                                                                                                   lnorpnle!t
                                                                                                                                       Non-AIIMstae
                                                                                                                                       laarpnle!t
                                                                                                                                                            •• A.lbatal ~ ..,.
                                                                                                                                                                PLMIDS
                                                                                                                                                                                        "AIINIIal~..,
                                                                                                                                                                                            TIM
                      27           07C
                                Bult~ample
                                                                          7       --                     -                -                  -                    NAD                     NA
                      28          OBA                                     8       0.328               14.33             84.76               0.91
                                Bulk Sample                                                                                                                       NAD                     NAD
                      29          08A-M                                   8M      0.111               95.50              3.60               0.90
                                Bui~Sample
                                                                                                                                                                  NAD                     NAD
                      30          OlD                   8    0.1J8                                    14.21             84.40                ua                   NAD                     tt:AD
•                               Balk Sample
                      31          OSB-M
                                Bulk Sample lNSUPPicmNt MAmC
                                                             -                                           -                -             .    -                    NA                      NA
                                                                                                                                                                                                                       N
                      32          08C                   8    Oj69                                     14.09             65.85
                                                                                                                                                                                                                       0\
                                                                                                                                                                                                                       N
                                                                                                                                            20.05                 NAD                      NAD
                                Bulk Sample
                      33
                                                                                                        . .                                                                                  •
                                    OBC-M                                 BM      0.006               16.67             66.61               16.67                 NAD                      NAD
                                 Bulk Sample l..OW WEIGHT
                      34            09A

                      3S
                                 Bulle Sample
                                    09A·M
                                                                          '9M     0.333

                                                                                  0.143
                                                                                                      18.32

                                                                                                      71.33
                                                                                                                        80,18

                                                                                                                        23.08
                                                                                                                                             1.50                 NAD                      NAD

                                                                                                                                             5.59                 NAD                      NAD
;                               'Bulk.Sample
                      36           098                                     9      0.212                18.40            78.77                1.83                 NAD.                     NAD ·
                                 BalkS...ple
                      37            098-fd                                9M     . 0.006              66.(;1           . 16.67              16.67 .               HAD                    . NAD

                      38
                                 Bulk Sample LOW WBIOHT
                                   09C · .                                ,.      o.%69.·.          . ·18..59           7f.5S                1.76     : .         NAD ·                   . CIIryiodJQ~
                                 Bu,kSample
                      J~f          09CM                      . .
                                 Bulk simple TNSUPf[CJENT .M AmC'.
                                                                                  --
                                                                                   .
                                                                                                         -                 -      ..
                                                                                                                                              -                   NA                       NA


              See Reportlna notes on l~t pa1e
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               Client Name: T~S Corporation
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                                                                                                 Table I
                                                                  Summary of Bulk Asb. .·A~ Results
                                                                            SLM-P-B 1SS93; Starwoocl SL ·Regia
   SciLab
   hmple
                      Cllmt
                     S•mplel
                                               HG
                                               AN
                                                            ~mpte
                                                           Wllpt
                                                                                    Heat
                                                                                  Slndtlft
                                                                                                        Add
                                                                                                       Solable
                                                                                                                        ......,..
                                                                                                                       No.~             "Aibelt.~llj
      '              Location                                   (Jnm)             Orpnlt 151         lllOrpnlc "'      IIIOI'IIalc "'      PLMIDS
       40           lOA
                  Bulk Sample
                                                10
                                                                 -                     -                  -                 -               NAD               .NA
       41           lOB
                  Bulk Sample
                                                10               -                     -                  -                 -               NAD               N~

       4Z            lOC
                  Bulk Sample
                                                 10              -                     -                  -                 -              · NAD              NA
       43           IIA
                  Bulk Sample
                                                 II              -                     -                  -                 -               NAD               NA
       44           liB
                  Bu!kSample
                                                 II              -                     -                  -                 -               NAD               -NA
                                                                                                                                                                                 N
       45            llC
                  Bulk Sample
                                                 11              -                     -                  -                  -              NAD               NA -
                                                                                                                                                                                 0'1
                                                                                                                                                                                 w

       46            12A                            0.286                             19.93
                                                                                                                                                                 •
                                          .· lZ                                                         76.2Z               3.15            NAD               NAD
                   Bulk Sample
       47            IlA-M
                   Bulk Sample TNSUPPICIBNT MASTIC .
                                                                 -               ..     -                 -                  -              NA                NA

       48            i2B                     12     OA.52                             19.91.            73.01              . 7.08           ~AD               NAD
                   Bulk Sample
        49            128-M
                   Bulk Sample INSUFFICIENT ldASTIC.
                                                     -                                  -                 -                  -              NA                 NA
                       .                               .
        50           l2C · ·                     12.             .0.406               20.44            ..7S.86              3.69
                                                                                                                             ..             NAD.               NAD
                   Bulk Sample
        51            12C-M
                   Bulk Saritpie TNStiFJ:IaBNrMASTIC ·
                                                           ·.    ~      ·
                                                                            .·
                                                                                        -..
                                                                                                ..
                                                                                                          ......   ~

                                                                                                                           ·-               NA                 NA

          52        . 13A . .                 13 .    Uf3                        ·. -.- 18.53           17.64               U3              NAD                NAD
                   Bulk S_aml'le

See RepardnJ note. on l~t ~~~~~

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                                                                                                           T~ble'I
                                                                                                                .
                                                                            Summary of ~ulk. Asbestos Aaalysls Results
-                SciLab
                 Sample
                                     Olent
                                   Sampleff
                                                               HG
                                                               Ana
                                                                        Samp1e
                                                                       Welaht
                                                                                      SW.:P-B 1SS93; Starwood St. Regia
                                                                                       .
                                                                                             Heat
                                                                                           Sendtl;..
                                                                                                                Adel
                                                                                                               Solab1e
                                                                                                                                  INOtable
                                                                                                                                Noa-.w.t.
                                                                                                                                            -
                                                                                                                                                     "Aibatal«.bJ                 .. Aibellal1ilbf
                   '
                   .53
                                   Loatlon

                                   13A-M                        13M
                                                                        <cnml
                                                                          0.018
                                                                                           Orpalc"
                                                                                           44..44
                                                                                                             lnorpalc ,.

                                                                                                               31.89
                                                                                                                                lnori-!lc f.            PLMIDS                           TIM
                                                                                                                                   16.67                    NAD                         NAD
                                Butt Samp1e tOW WBIGHT
                   54             13B                 . 13                0.5~              17.81              71.67                9.50                    NAD                         NAD
                                Bulk Sample
                   35             13B·M·               13M                0.025'                                                                                                                           .'
                                                                                           32..00             . 64.00                4.00                   NAD                         NAD
;                               Bulk Sample LOW WEIGHT                                                                                                      .
                   56              13C                    13              0.3S7 '          11.57               rus                   5.11                   NAD                         NAD
                                Bulk Simple
                   57            · 13C-M                 UM               0.008             37.50               ~0.00               ll.SO                   N~                          MAD·
                                                                                                                                                                                                                    N
                                Bulle Sample l..OW WEIGHT
                                                                                                                                                                                                                    ~

                                                                                                                                                                                              •



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                         ..............1£ M"""              Pa...t rJib.,..._.IIZII02                                                        .
                         QalllllllllnAii,...CSemiiM);a.ttAiblltlaiAilll)olll·ft.MIIj!PAIIIIIft'M4-12o020per40CIR(NVLAP~"-0):11M(Sea!IIN)bJIPA.a..flllt6(1111t....S11fNVUPM- &1d•);
                         etii.AP l!ll.ln91A l'nrftlew YOitlllllpiii(NYIIX)HBLANU410);NAD••..... dlilclill .....a ....llllw_.,.tfA ••..t;.I;"'-•<IW;~ 1111• llrflllll*l..,..tiC:O.t . . .
                         *-ldtll&llllllldnl• ""lltatlfteai.JJ~A...,_A.-..~,_..al-..-r•"NYA•Ho
                         eowei.pmllltlllhm...)orepllllll)'laDeJierq.Jitllhi. .IJia); AiRAIMIIZIO.
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                         ,...,_. . . . . , .. wftlc'> ~   :r;;;.li•l!iil:i.;:-:-.. .
                         WlflllllaNCIIII: i1.M Dmlfllkln.OIIIjTBMwlllftiiiMftllat<IW .......... cllllneler. 'IBM llllt•l)lllllr+d& lld'l8aldleflll . . . . - * ....WIIidl1119 .... i+ I. 'f t .. fi_ • lai!M)
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               CorporaUon                                  ~LM • P • ~ \C:Fol\
       .Industrial Way
     ISallem NH 03079
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 . AMERt            s( ·:i ·                                            •
                                                                                           . ,,, EAST 30TH START
                                                                                             NEW YORK. NY 10011
                                                                            TEL: C212) 111-I&CI) • FAx: (2t2) ~1312
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                                       PLM. a·ulk Asbestos
                                                      . . Report
                                                           .
  URS .PcmmratiOn                                    Qll~ _!tecelv~    ~~              t\~.riScl Job N0:204031528
  Attn:.Oanielle Sch •e~r                            Dale ExamJneci 031o5/o4       P.O. t1 :
  6 Penn Plaza                                    · · ELAP Number 11480            Page ·1 of 4
  13th Floar                                          RE; TBD; St Regis ; -Goc:Uva Space 703 Fifth Avenue
  New Y~ NY 10C J1


  Client No./ HGA                         Lab No.                     Asbestos Present               Total•,4 Asbestos-
  G0~1                                   204031528-01                       No                               NADR
                       L ~lon: Meu • Storage Room
  1
                   Des :rlpUon: Beige. Homogen~us, Top Leyer Floor TUe
               AsNstOt~:
                · other lltel'lal:· Non-fibrous 0.6 %

  GOD-D2                       .        204031528-02                           No
                      l )calion: Mezz ~Storage Room
  1
                   Des :rtptlon: Beige, Homogeneous. Top Layer Floor Tile
               Asbestc aTypes:
---=--..        .~ letetl• 1• NoarJibrou1...,.1~3J-':"';r._---                                                            -----

  GOD-03·T .
                        --------------------------------------------------
                                                  No
                                        204031528-03~, .           NAO
                                                                                                                  "2

                      I ocation: MIZZ • Storage Room
  2
                   Dee :rlptlon: OffWhJt8, Homogeneous, Seconc:l Layer Floor     Tlle ·.
              ASbesk s Types:                        .
                Other .,.teriel: Non·fbrous 15.6%
                                                                                                                      2
  GOD-oo-M.                           · 204031528-03L2                         No                            NAO
                     1 ocetlon: Meu • S\orage Room (LOW WEIGHT)
  2M
                  De! crlptlon: Slack, Homogeneous, Mastic
              A.sbest• s Types:
                Othllr .uleterlal: Non-fibrous   e.s a;.

 GOD-o4-T                              204031S28-04l1                          No                             NAD-"
 2
                     ! ocallon:    Mm .Storage Room .
                  De criptlon: Off'Whitt,·Homogeneous, Second Layer Floor Tile
              Asbelte s Types:                              .
               Oth11 Material:     Non-nbrous    13.0 %
                 Case1:16-cv-09390-GHW
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          AMERJSc:J                                                          •             .       NEW YOAK. 'NY 111011
                                                                             TB.: C212) 6'71-1100 • ~AX:·(212) m-an·
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                                          PLM Bulk Asbestos Report·
         URS Cprp.~atl~                             · ~~~ Recelv~ ~                            AmeriSd Jo~ No.~~031528
         Attn:.Danlelle Sctb .efer                    Date Examined. 03105104     P.O. t             .
         5 Penn Plaza                                 El.AP Number 11480          Page 2 cit 4 ·
     · 13th FlOor ·                                   RE: TBD; S~ R.egis ; Godl~a Space 703 F"lfth Avenue
         New York. NY 1OC )1


     Client No.I HGA                          Lab No...                 Asbestos Pres•nt ·                Totaf% Asbestos
         GOD-o4-M                            204031628-o4L2                                                     NA·.
                             L Gtion: Uezz • SIOrage Room ·1~1Cienl Matenal SWmmed For Prepal8tioit•
         2M
                      Des rlptlon: Mastic
                   Asbesto Typea:
                      Other I llterlll:

     GOD.OS                                  204031528-05
                           L .cation: Mez:z • Storage Room
     3
                        Des ripflon: Black. Homogeneous. Third Layer Floor rile
                   A.&beslo • Types:
                    • nrhet. lal•dai:..Non·tibr:ous 6 2 %                                                                             ...
                                                                                                                  .               2
     GOD-o6                      .           204031528-06                            No                     .:.            NAD
     3                     L 'cation: Mezz • Storage Room

                       Des :ripUon:. Black.l:fomogen.OUS,.Third Lily1r Floor Tile·
                   Asbe$10   :Types: .          .                .               .
                    Olher laterial: Non-fibrous 12.<4%
                                                                                                                  ..      ,•

     GOD-07                               204031528-07.1                             No                                    NA.P
     4     .              1 'cation: Mezz • Sta~ge Room

                       De! :rlptlon: White. Homogeneous, Wan Plaster
                  As~stc  : Types:
                    Other IJaterlal: Non-fibrou! 100. •t.


     GOD-07                               2~031528-"07 .2                            Yes
                          1 'cation: Mezz • Storage Room
     4
                      De! :riptlon: Brown. Homogeneous, Ce.rnentitious, Wall Plas1er
                  Asbestc ; Types: Chrysotife Trace
                   Other "'•tertal: Cellulose 1. %,    Non-fibrous   ss. %
                                                                                                                                            ,: •       .

..   .
                                      ·• .                              ..                                  ·•        .                            .
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                                                                                     · •TU:
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                                                                                              (212) m-eiOO • FAX: C212) 1'714312




                                              PLM Bulk Asbestos Report·
       URS Corporation                                   Date Received 03f0&'04                     AmtriSd Job No.204031528 ·
       Attn: P-'nieiltir'SCh; efer                       oaie ExamJned           03105lo4           P..o.·;· ...      .         ..
     5 Penn Plaza                                        aAP Number 11480             Page 3 of 4
     13lh Floor-.                                        AE: TBD; Sl Regis ; . Godiva Space 703 Afth Ave'nue
     New York, .NY 10C )t


    Client No.J HGA                             Lab Na.                         Asbestos Present                   Total % Asbestos.
    GOD-08                                     204031528·08.1                             No                              NAD
    4                       L eeetlon: Mezz • Slo,.gt Acorn

                     Des riptlon: Whlie. Homogeneous, Wal Plaster
                  Asbuto Types:
                   Othtir I blterlll: Non-fibrous 100.%

    GO[),.OS                            . 204031528.08.2                                 No .                             NAO
    4                      L -=-tlon: Mezz ·Storage Room
                                           .    .
                      Des t'lpUon: Brown. Homogeneous, CementiiiOul, ~~ Plaster
                 Mbecto.~
~====~·P.t:.:tl.CL::· wertal: Q!l~.eJ s. Non·flb~Jl&.% · ·
    GOD-09.                                   204031528..()9                             No                               NAD
    4                      L ac:~~llon:   1\teZZ • Storage Room
                       .                                          .
                     De8 ripllon:         Whit•, Homogeneous, Wal Plaster.
                 AcbeSto 1 Types:                                     ·
                   Othe~ Jeterl:al: Nan-fibrous 100. %
                       C: NNMnt: Base CoatlnsutriCienl For Ana1yct1


    G0~10                                    204031528·10                                No                               NAO
                        l :iC.tlon: GtDUnd • Aelall Space
   5
                     Des :ripUon: Brown/Grey,· Homogeneous, Gypswn Board
                 Asb•stc ; Typrs:                                 ·   ·
                  Olher Jletetial: Cellulose 35. %,         Non-fibrous    6~ . ~.
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      5 PeMPiaza                                   ELAP Number 11480             Page       4        of   4
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     . Client No./ HGA                    Lab No.                  Asbestos Present                 Total% Asbestos
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                        APPENDIXC



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                                 APPENDIXC
                   PERSONNEL AND LABORATORY CERTIFICATIONS




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